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     In re Application for Exemption from Electronic Public Access Fees by
                       Jennifer Gollan and Shane Shifflett
                                9th Circuit Case No. 12-16373

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